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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                  - - - -x

UNITED STATES OF AMERICA                         PROTECTIVE ORDER

     - v. -
                                                 19 Cr. 373 (PGG)
MICHAEL AVENATTI,

                     Defendant.

                                        -x
          WHEREAS, the United States of America seeks to provide

certain evidence pursuant to Rule 16 of the Federal Rules of

Criminal Procedure; Title 18, United States Code, Section 3500;

Brady v. Maryland; and/or United States v. Giglio; and

          WHEREAS, some material that the Government seeks to

provide (i) contains sensitive information that affects the

privacy and confidentiality of specific individuals, including

personally identifiable information, law enforcement sensitive

information {including references to potential subjects or

targets of investigation), and personal communications between

the defendant and individuals not named as defendants in this

criminal action; (ii) could jeopardize or impede, if prematurely

disclosed, the Government's ongoing criminal investigations of

additional uncharged individuals; and (iii) is not authorized to

be disclosed to the public or disclosed beyond that which is

necessary for the defense of this action; and

          WHEREAS, the Government is willing, under the
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conditions set forth below, to produce such materials;

          IT IS HEREBY agreed, by and between the United States

of America, Geoffrey S. Berman, United States Attorney, by

Matthew Podolsky and Robert B. Sobelman, Assistant United States

Attorneys, of counsel, and defendant MICHAEL AVENATTI and

undersigned counsel for MICHAEL AVENATTI, that:

          1.    Any material reflecting (i) sensitive

identification information (including, but not limited to,

names, telephone numbers, addresses, email addresses, dates of

birth, Social Security numbers, bank account information, credit

card information, other sensitive financial information, and

driver's license information) or (ii) that the government

designates or has previously designated, as "Confidential

Information" (which may include but is not limited to

(a) material the disclosure of which the Government in good

faith believes could jeopardize any ongoing criminal

investigation or otherwise.prejudice the due administration of

justice or otherwise interfere with a fair trial, and (b) video

recordings, photographs, audio recordings, text and electronic

messages, and judicially authorized search warrants) is deemed

"Confidential Information" and shall be so identified by the

Government.

           2.   Confidential Information disclosed to the

defendant or to his counsel during the course of proceedings in
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this action:

                (a)    Shall be used by the defendant and his

counsel only for purposes of preparing for and conducting pre-

trial proceedings, trial, and/or any appeal of this action;

                {bl    Shall be maintained in a safe and secure

manner solely by the defendant 1 and his counsel, and the

Confidential Information and the contents thereof shall not be

disclosed or otherwise.shared in any form by the defendant or

his counsel except as set forth in paragraph 2{c), below;

                 (c)   May be disclosed by the defendant or his

counsel only to the following persons (hereinafter "Designated

Persons") :

                       {i)   investigative, secretarial, clerical,

and paralegal student personnel, or any interpreter or

translator, employed full-time or part-time by the defendant's

counsel;

                       (ii) independent expert witnesses,

investigators, or advisors retained by the defendant's counsel

in connection with this action;

                       (iii) potential witnesses, but only insofar

as defense counsel may show the Confidential Information to


1In the event that the defendant retains a copy of the
Confidential Information, he shall store such materials at his
primary residence in a secure manner and shall not take such
materials outside of his residence or otherwise share such
materials.
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potential witnesses without these individuals retaining copies

of the Confidential Information; and

                      {iv) such other persons as hereafter may be

authorized by the Court upon motion by the defendant; and

                (d)   All documents subject to this Protective

Order must be destroyed or returned to the Government's

attorneys at such time as they are not needed in this action, at

the end of the criminal proceedings {including any appeal and

related applications for habeas corpus or any other collateral

relief), or upon Order of the Court, whichever occurs first.

          3.    The defendant and his counsel shall provide a

copy of this Order to Designated Persons to whom they disclose

Confidential Information pursuant to paragraph 2(c).        Prior to

disclosure of Confidential Information to Designated Persons,

pursuant to paragraph 2(c), any such Designated Person shall

agree to be subject to the terms of this Order by signing a copy

hereof and providing such copy to the individual defendant's

counsel, who shall retain such copy.

           4.   No party shall disclose Confidential Information

to members of the media, nor sha·ll any party post any

Confidential Information on any Internet or network site (such

as Facebook, Twitter, Instagram, and other social networking and

media sites and applications) to which persons other than the

parties in this criminal action or Designated Persons have
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access.   The defendant and his counsel may not use, disclose, or

disseminate Confidential Information, or any information taken

from the Confidential Information, for any purpose other than in

connection with the defense of this criminal action.

           5.   The provisions of this Order shall not be

construed as preventing defense counsel in this case and in the

case of United States v. Michael Avenatti, 19 Cr. 374 (DAB),

from sharing Confidential Information with each other.

           6.   The provisions below apply to the public filing

of Confidential Information.

                a.    Except as set forth in sub-paragraph 6(b),

below, the provisions of this Protective Order shall not be

construed as preventing the disclosure of any information in any

motion, hearing, trial, or sentencing proceeding held in this

criminal action or to any judge or magistrate of this Court for

purposes of this criminal action, provided that personally

identifiable information or other sensitive information is

redacted, prior to any public filing, as required by the rules

governing publicly-filed documents in this district.

                b.    In order to prevent the public disclosure of

Confidential Information in circumstances in which the reasons

for non-disclosure of such information overcome the presumption

of public access to judicial documents, the defendant shall,

three business days prior to the due date of all substantive
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motion papers and other substantive requests for relief, provide

to the Government copies of an exhibits containing Confidential

Information that the defendant intends to file.       The Government

shall have one business day from receipt of the defendant's

exhibits within which to propose any redactions of such

Confidential Information in any proposed exhibit to such papers

or requests.   For each proposed redaction, the Government shall

explain why the proposed redaction overcomes the presumption of

public access to judicial documents.     The defense shall have two

business days from receipt of any proposed redactions within

which to consider and, if necessary, oppose those redactions.

If agreement is reached that the proposed redactions are

appropriate, the redacted exhibits shall be filed with the

defendant 1 s motion or other papers.   If agreement cannot be

reached concerning the proposed redactions, the defendant shall

file his motion or other papers without exhibits, and the

dispute shall be submitted to the Court for resolution before

the exhibits in question are filed.     This sub-paragraph applies

only to exhibits and not to any information included in a

memorandum of law, letter, or other request for relief.        No

memorandum of law in support of a motion, letter, or other

request for relief need be redacted pursuant to this sub-

paragraph, even if it quotes, cites, or otherwise references

Confidential Information, provided that such quote, cite or
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other reference is included in good faith in support of the

relief requested.    If a motion, letter, or other request for

relief does not attach any exhibit containing Confidential

Information, this sub-paragraph does not apply.      This sub-

paragraph does not apply to any exhibit that is obtained by a

defendant independently of the Government's production, even if

it is also contained in the Government's production.       Eight

weeks before any trial in this action, this sub-paragraph will

cease to apply.

          7.      Any disputes regarding (i) the classification of

material as Confident'ial Information or (ii) any required

redaction, which cannot be resolved among the relevant parties,

should be brought to the Court for a ruling before any

disclosure not specifically permitted by this Protective Order

is made by any party.



Dated;    New Y£rk, New York
          May 2_1, 2019


                            SO ORDERED:



                            THE HO~~GARDEPHE
                            UNITED STATES DISTRICT JUDGE
                            SOUTHERN DISTRICT OF NEW YORK
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              Consent to Entry of Protective Order

     I, Michael Avenatti, have read and reviewed the proposed
Protective Order in the case of United States v. Avenatti,
19 Cr. 373 (PGG), and I * _the entry of the Order.


                                              f,3u-/7'
                     Michael Avenatti


     I, Scott Srebnick, Esq., have read and reviewed the
proposed Protective Order in the case of United States v.
Avenatti, 19 Cr. 373 (PGG), and I consent to the entry of the
Order on behalf of my client, Michael Avenatti.


                      Ae/t4~
                     Scott Srebnick, Esq.
                                                    5'-JJ-l,
                     Attorney for Michael Avenatti
